(Post 11,42015)
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                                                  UNITED STATES DISTRICT COURT
                                                  EASTERN DISTRICT OF ARKANSAS                                                        OCT O3 2019
                                                     fl~
                                                       81~~C-          DIVISION




                      (Name of plaintiff or plaintiffs)

                                     V.                                   CIVIL ACTION NO.                   S: f q - <:. v - 317 -                   l<GB
                                                                          (case number to be supplied by the assignment clerk)



                                                                                      This case assigned to District Judge                    Ba.Kee
                                                                                      and to Magistrate Judge ___._V.-olpc
                                                                                                                      _ _ _ _ _ __

                    (Name of defendant or defendants)

                       COMPLAINT UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

                       1.        This action is brought pursuant to Title VII of the Civil Rights Act of 1964 for

              employment discrimination. Jurisdiction is specifically conferred on the Court by 42 U.S.C.

              §2000e-5.         Equitable and other relief are also sought under 42 U.S.C. §2000e-5(g).

                      2.         Plaintiff,     _T_o~h,.,_..!'\«. .~__,_.<nc..A----=sr'Yl'-'-'--'-ffb-'----'
                                                                    .                                       _ _ _ _ _ _ _ _ _ _ _ _,             IS      a
                                                                         (name of plaintiff)
              citizen of the United States and resides at            _'7.._Z. . .Q....._.q__.O~d....a.n
                                                                                                     ........____.,,,{)n........,;_:v,;...;;:~--------
                                          'il                                                   (street address)
              __p,......c--;nt.~r'?>~lim~•--•·~3,~df-J~~~ri~on~-- -~A. .f?l. . . ......lbr,,n~<:~o..~~--•·                           1/CP03 ,
                            (city)                              (county)                                   (state)                       (ZIP)
                  'hu- ~rq - 9u'lo
                      (telephone)

                      3.     Defendant, (1.,·c, /c,nd, f:tiodtS:                                                                , lives at, or its
                                      .                      (name of defendant)
              business is located at '·/o C( S {;tt,.,. cl Av~
                                                    (street address)                                                          (city)
              ~6~,~-~~~"'-1___ -~fi~/J\_____,. 7-Z llPO
                      (county)                             (state)                              (ZIP)

                      4.         Plaintiff sought employment from the defendant or was employed by the
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defendant at        ~Ol\ ~ Gt«C\J.        ~
                                  (street address)                                                     (city)
~lk. . .lht~t'\S~~--~
           (county)
                      -~lk1. . . .        l~'¥l~<e+e;-------'
                                             (state)
                                                                          ~·7_,~'"~D~--
                                                                               (ZIP)

          5.         Defendant discriminated against plaintiff in the manner indicated in paragraphs 9
                                      Ii                      ~.N/ j-to --Sct, ~ I    C> -u. ICJ
and 10 of the complaint on or about _,AJ~O_V_-_"y..-'---~'-----,--"'_ _ _ _ _ _ _~'-O_h-'----LV----'--'
                                       (month)                   (day)             (year)

          6.         Plaintiff filed charges against the defendant with the Equal Employment

Opportunity Commission charging defendant with the acts of discrimination indicated in

paragraphs 9 and IO of this complaint on or about _--s_·.,.,'-'--_f:e____...b_ _ _~....;;...._f.l\_1_1-0--=-tf-<t<_1'-0_ _To~-'--14_.____
                                                       (month)                      (day)                                (year)

          7.         The Equal Employment Opportunity Commission issued a Notice of Right to Sue

which was received by plaintiffon _ _,0.....__1_,_____l_._l_ _ _~-=O_l_q,.__ _ _, a copy ofwhich notice
                                      (month)         (day)     (year)
is attached to this complaint.

          8.         Because of plaintiffs (I) _ __                       race, (2)         ✓c:;or, (3)_ _ _ sex,
(4) _ _ _ religion, (5) _ _ _ national origin, defendant:

                     (a) _ _ _ failed to employ plaintiff.

                     (b) _ _ _ terminated plaintiffs employment.

                     (c)      7 : i l e d to promote plaintiff.

                     (d) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




          9.         The circumstances under which the defendant discriminated against plaintiff were
•                 Case 5:19-cv-00317-KGB Document 2 Filed 10/03/19 Page 3 of 6


                                                          ho.A
    as follows:   -Z    Jch,r&t,in [w,,¥lt                    W atflh"J to£             <1.     mo..oo~ce           ~cb a,,J         flt'lf-~


    cln ,ltkrv,w ~ b'd: ~ a~                         9tv~      +,,g_   ~ob      he~e.                eR   ty)tl (6.fR     I   w     o... \Dh,w..

     Olbn   1w.$   ~Ml\ fu.             i'°      OAf: (lNl. l \ ~       ro -Q.•(lt6~ 1 J.. ~ io A,w !ArJ /{(3
    td\h '1N.      ~ aiael                tlJilGl3   :Mi ~         4k_ roo:ftv ~cl 6e t~hJ. 1hfo I Qu
    ~ 6.,1'r ;""t       eo,.,(c),   -kiM :&: ~            ~;\rut'\     ht.~ u,'.}a\   Nl±     b-e.   91w11     He       f ...j 'h,r k
    p~iii\2Cl, wp-$'.½       h,$ ~ ~ < ' ,~l~h.n tum                     P""') ,Sci l. r.,fv..w,( ooc± :If> c1.v-Q +o 'f'C, w {
     f":; ~ 4,,,. I                     wcr-_,       tejJ.,    bJ (~llittW:           J"-tl dt.41 'f- C...JC/Y'rl: -k, h,'ru...
                                                                                      Lqct


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            10.        The acts set forth in paragraph 9 of this complaint:

                       (a) _ _ _ are still being committed by defendant.

                       (b)          ✓- no longer being committed by defendant.

                       (c) _ _ _ may still be being committed by defendant.

            11.          Plaintiff attaches to this complaint a copy of the charges filed with the Equal

    Employment Opportunity Commission which charges are submitted as a brief statement of the

    facts supporting this complaint.

            WHEREFORE, plaintiff prays that the Court grant the following relief to the plaintiff:

                       (a) _ _ _ Defendant be directed to employ plaintiff, and

                       (b) _ _ _ Defendant be directed to re-employ plaintiff, and

                       (c) _ _ _ Defendant be directed to promote plaintiff, and

                       (d)          /         Defendant be directed to-h-(             pl!itT> f"-Y pldlf\-\.f ttr lua &wj!-1              C¥tc)..f0'.'ri   ~ re&,
    and that the Court grant such relief as may be appropriate, including injunctive orders, damages,

    costs and attorney's fees.


                                                                js1GNATURE OF PLAINTIFF
                         Case 5:19-cv-00317-KGB Document 2 Filed 10/03/19 Page 4 of 6
 EEOC Form 161 (11/16)              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                   DISMISSAL AND NOTICE OF RIGHTS
 To:   Johnathan M. Smith                                                                From:      Llttle Rock Area Office
       6209 Oden Drive                                                                              820 Louisiana
       Pine Bluff, AR 71603                                                                         Suite 200
                                                                                                 ·· Little Rock, AR 72201


       D                     On behalf of person(s) aggrieved whose identity Is
                             CONFIDENTIAL (29 CFR §1601.7(a)J                                                L ZI
 EEOC Charge No.                                 EEOC Representative                                                      Telephone No.
                                                 Ivonne A. Knutson,
 493-2019-00615                                  Investigator                     ....                                  '(501) 324-5469
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOwfNG"'REASON:'
       D         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


       D         Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


       D         The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

       D         Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
                 The EEOC issues the following detennination: Based upon its investigation, the EEOC is unable to conclude that the
                 infonnation obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

       D         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


       D         Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional lnfonnat/on attached to this form.)

Title VII, the Americans with Dlsabllltles Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be flied WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.




Enclosures(s)
                                                     1Ai~mn                                                                   JUL 1 1 2811
                                                                                                                                (Date Ma/lee/)
                                                                 WIiiiam A. Cash, Jr.,
                                                                 Area Office Director
cc:
           Amber Bagley
           Cross, Gunter, Witherspoon & Galchus
           500 President Clinton Avenue
           Suite 200
           Little Rock, AR 72201
Enclosure wllh EEOCCase      5:19-cv-00317-KGB Document 2 Filed 10/03/19 Page 5 of 6
Form 181 (11116)
                                                INFORMATION RELATED TO FILING SUIT
                                              UNDER THE LAWS ENFORCED BY THE EEOC

                               (This information relates to filing suit in Federal or State court under Federal law.
                    If you   also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)

                                        Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS
                                        the Genetic Information Nondiscrimination Act (GINA), or the Age
                                        Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                -    Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10- not 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION                   -     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                            --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                   IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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               U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                 Little Rock Area Office


•
Johnathan M. Smith
                                                                                       820 Louisiana St, Suite 200
                                                                                           Little Roc:Jc. AR 72201
                                                                          Intake lnfonnation Group: (800) 669-1000
                                                                     Intake lnfonnation Group TTY: (800) 669-6820
                                                                                               FAX (SOI) 324-S991
                                                                                            Website: www.eeoc.gov

6209 Oden Drive
Pine Bluff, AR 71603


Re:       Johnathan M. Smith v. Riceland Foods
          EEOC Charge No: 493-2019-00615

Dear Mr. Smith,

The enclosed Notice terminates the processing of your charge and gives notice of your right to
sue within 90 days. A copy of the Respondent's position statement was sent to you via the portal.
After receiving your response, all evidence collected during the investigation was thoroughly
reviewed.

Complaint
You alleged that you were denied a promotion because of your race(black).

Evidence

The evidence shows that:
      •   The evidence is insufficient to show that race was a factor in non-selection for the
          position.
      •   A second position was open on a different shift.
      •   You were offered the opportunity to gain experience for the position but did not
          participate.

No further action will be taken by this office regarding your charge of discrimination. The
Director's determination in this matter is enclosed. This determination concludes the processing
of the charge by the EEOC but does not affect your right to sue on your own behalf. You may
pursue the matter by filing in Federal District Court as explained in the Dismissal and Notice of
Rights,

Sincerely,
                                                                      JUL 1 1 2019
~~
                                                                    Date
Ivonne Knutson
Investigator

cc.
